Case 2:05-cv-02216-BBD-dkv Document 14 Filed 06/07/05 Page 1 of 2 Page|D 23

ausa g 85 t `
UNITED sTATEs oisTRiCT CouRT l 9~€».

WESTERN DISTRICT OF TENNESSEE
05 J:_.ra ~7 ta 10= u,

MEDIPRO S.A., ) §?§;;<’ 'Fc_;~m;`ivl&_.

) tro o: ir-.;.' ataaina_is'
Plaintit`t`, )
)

v. ) Civil Aetion No. 05-2216-D/V

l
MEDTRONlC SOFAMOR DANEK, INC., )
l
Det`endant. )

 

ORDER ENLARGING Tll\/IE

 

On unopposed motion by plaintiff l\/Iedipro S.A., presenting adequate eause, the
original time period for said plaintiff to respond to the motion to temporarily stay
proceedings served by defendant l\/ledtronic Sofanior Danel<, lnc. on May 13, 2005, is

enlarged to and including June 30, 2005.

  
 

 

TED STATE l\/IAG]STRATE JUDGE

 

This document entered on the doeke sheet tn comp!iance
with Rule 58 and/or 79{a) FRCP on '

 

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 14 in
case 2:05-CV-02216 Was distributed by faX, mail, or direct printing on
June 7, 2005 to the parties listedl

assEE

 

Leo Maurice Bearman

BAKER DONELSON BEARMAN CALDWELL & BERKOWITZ

165 Madison Ave.
Ste. 2000
l\/lemphis7 TN 38103

Glen G. Reid

WYATT TARRANT & COl\/[BS
P.O. Box 775000

l\/lemphis7 TN 38177--500

Thomas R. Dyer

WYATT TARRANT & COl\/[BS
P.O. Box 775000

l\/lemphis7 TN 38177--500

Alvin B. Davis

STEEL HECTOR & DAVIS LLP
200 So. Biscayne Blvd.

4000 Wachovia Financial Center
l\/liami7 FL 33131

Honorable Bernice Donald
US DISTRICT COURT

